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                        IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA
                                BRUNSWICK DIVISION

 THE GLYNN ENVIRONMENTAL
 COALITION, INC. AND CENTER FOR A
 SUSTAINABLE COAST, INC.,

         Plaintiffs,
                                                      CIVIL ACTION NO. 2:19-CV-00050-LGW-
 v.                                                                 BWC

 SEA ISLAND ACQUISITION, LLC,

         Defendant.


             DEFENDANT’S NOTICE OF INTENT TO FILE A REPLY BRIEF


        Sea Island Acquisition, LLC, in accordance with Southern District of Georgia Local Rule

7.6, hereby notifies the Clerk of this Court that it intends to file a reply brief to Plaintiffs’ response

in opposition to Defendant’s motion to dismiss and brief in support. (Doc. 11 and Doc. 6 & 6-1.)

        Respectfully submitted this 23rd day of May, 2019.

                                                      HALL BOOTH SMITH, P.C.


                                                      /s/ James B. Durham
 3528 Darien Highway, Suite 300                       JAMES B. DURHAM
 Brunswick, Georgia 31525                             Georgia Bar No. 235526
 Phone: (912) 554-0093                                Attorney for Defendant
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      Case 2:19-cv-00050-LGW-BWC Document 12 Filed 05/23/19 Page 2 of 2



                                 CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing Defendant’s Notice of Intent to

File a Reply Brief with the Clerk of Court for the United States District Court for the Southern

District of Georgia, Brunswick Division, by using the CM/ECF system which will send

notification of such electronic filing to the following:

                                       E. Righton J. Lewis
                                      BUTLER SNOW, LLP
                                 1170 Peachtree St. NE, Suite 1900
                                      Atlanta, Georgia 30309

       This 23rd day of May, 2019.

                                                      HALL BOOTH SMITH, P.C.


                                                      /s/ James B. Durham
 3528 Darien Highway, Suite 300                       JAMES B. DURHAM
 Brunswick, Georgia 31525                             Georgia Bar No. 235526
 Phone: (912) 554-0093                                Attorney for Defendant
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